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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                CINCINNATTI DIVISION

HUNTER DOSTER, et al.,
                                 Plaintiffs,
        v.                                                                    No. 1:22-cv-00084
FRANK KENDALL, et al.,                                                  Hon. Matthew W. McFarland


                                 Defendants.



              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants respectfully notify the Court of the attached decision in Clements v. Austin, C.A.

No. 2:22-2069-RMG (D.S.C.). Order, ECF No. 22 (July 27, 2022), Ex. A. In that case, twenty-four

plaintiffs sought to prevent the military from enforcing the COVID-19 vaccination requirement and

brought claims under the Religious Freedom Restoration Act (“RFRA”), the Free Exercise Clause of

the First Amendment, the Administrative Procedure Act (“APA”), and the Due Process Clause of the

Fifth Amendment. Id. at 1–3. The Court dismissed the claims brought by those who were not

residents of South Carolina, and severed the remaining four plaintiffs into separate cases. Id. at 6.

        The court explained:

        The Government’s obligation to demonstrate that the vaccination policy, as applied to
        an individual Plaintiff, is the least restrictive means available requires a fact-intensive
        presentation that addresses, among other things, the individual job duties of each
        Plaintiff, the specific work environment of each Plaintiff, the risk of transmission
        posed by those job duties and work environment, the potential consequences of a
        COVID-19 outbreak on the functions of that work area, the practicality and
        effectiveness of proposed alternatives to mandatory vaccination in regard to each
        Plaintiff’s job duties, the medical history of each Plaintiff, and the nature and sincerity
        of each Plaintiff’s asserted religious beliefs. Each Plaintiff has participated in a multi-
        layered review process that has involved various levels of supervision and assessments
        by medical and epidemiological specialists.

Id. at 3. The court concluded:
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            [T]he joinder of these far-flung cases—across different states, military branches,
            service academies and work stations—is an uniquely poor idea. Although there are
            obviously some overlapping issues in the claims of the Plaintiffs, the differences in
            each individual case would predominate over those common issues of law and fact
            and would require two dozen minitrials. Rather than promote judicial economy, as
            Plaintiffs allege, the jumbling of these highly individualized claims into a single action
            would be unwieldy and unmanageable.

Id. at 5.

            For the reasons described in the attached opinion, assessing a RFRA violation is a highly fact-

intensive, individualized inquiry. Plaintiffs have not met their burden to show likelihood of success

for every class member, and this Court should not enter a class-wide preliminary injunction. For the

same reasons, this Court should also decertify the class and sever the claims of individual Plaintiffs

who otherwise lack venue in this district.

Dated: July 27, 2022                                    Respectfully submitted,

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                                                        Counsel for Defendants


                                       CERTIFICATE OF SERVICE

            I hereby certify that on July 27, 2022, I electronically filed the foregoing paper with the Clerk

of Court using this Court’s CM/ECF system, which will notify all counsel of record of such filing.

                                                    /s/ Zachary A. Avallone
